                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION

                              Criminal No. 7:09-CR-42-BO
                               Civil No. 7:1O-CV-161-BO


SHELLEY DUNN, JR.                             )
           Petitioner,                        )
                                              )
       v.                                     )                    ORDER
                                              )
UN"ITED STATES OF AMERICA,                    )
             Respondent.                      )




       Having conducted an examination of petitioner's motion pursuant to Rule 4(b) of the Rules

Governing § 2255 Proceedings and it appearing that dismissal is not warranted at this time, the

United States Attorney is DIRECTED to file an Answer pursuant to Rule 5, Rules Governing § 2255

Proceedings, or to make such other response as appropriate to the above-captioned § 2255 Motion

to Vacate, Set Aside or Correct Sentence, within forty (40) days of the filing of this order.

       SO ORDERED.

       This the ~~ay of August, 2010.



                                                  Terrence W. Boyle
                                                  United States District Judge




            Case 7:09-cr-00042-BO       Document 51        Filed 08/27/10        Page 1 of 1
